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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF OREGON
                                  PORTLAND DIVISION

 CHARLES FRANCIS,

        Plaintiffs,                                                   Case No. 3:20-CV-01733-SB

              vs.                                        UNOPPOSED MOTION TO DISMISS
 GENESIS FS CARD SERVICES, INC.

        Defendant.

       COMES NOW Plaintiff Charles Francis (“Plaintiff”), and makes this unopposed motion

that the above-entitled action shall be dismissed in its entirety, with prejudice, pursuant to Rule

41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, with each party to bear its own costs and

expenses.




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DATED this 17th day of February, 2021.


                           Respectfully submitted,

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